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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 24mj02786 Goodman
                                                                                        MP
UNITED STATES OF AMERICA
                                                                               Apr 19, 2024
v.

STEFAN ANDRES CORREA,                                                                      MIAMI


      Defendant.
______________________________________/

                                  CRIMINAL COVER SHEET

     1. Did this matter originate from a matter pending in the Northern Region of the United States
        Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)?         No

     2. Did this matter originate from a matter pending in the Central Region of the United States
        Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No

     3. Did this matter involve the participation of or consultation with now Magistrate Judge
        Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
        January 22, 2023? No

     4. Did this matter involve the participation of or consultation now Magistrate Judge Marta
        Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
        March 5, 2024? No


                                                     Respectfully submitted,

                                                     MARKENZY LAPOINTE
                                                     UNITED STATES ATTORNEY



                                              BY:    /s/ Lauren A. Astigarraga
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Miranda Ballard, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent of Homeland Security Investigations (“HIS”), and I have been

so employed since June of 2019. I am assigned to the Miami International Airport (“MIA”)

Passenger Response Group, and my duties include but are not limited to the investigation of crimes

related to the smuggling and trafficking of contraband and illicit merchandise. As part of my

official duties as a Special Agent, I have participated in a number of investigations involving

violations related to child exploitation. During the course of those investigations, I have

participated in the execution of federal search warrants and arrest warrants. I am an investigative

or law enforcement officer of the United States, in that I am empowered by law to conduct

investigations and to make arrests for felony offenses, including under the authority of Title 18,

United States Code, Section 1591 and Title 18, United States Code, Section 2423.

       2.      This affidavit is submitted in support of a criminal complaint charging Stefan

Andres Correa (“CORREA”) with attempted sex trafficking of a minor, in violation of Title 18,

United States Code, Sections 1591(a)(1) and (b)(1), and 1594(a); and attempted travel with intent

to engage in illicit sexual conduct, in violation of Title 18, United States Code, Sections 2423(b)

and (e).

       3.      The facts and information contained in this affidavit are based on my personal

knowledge and observations, as well as information received in my official capacity from other

individuals, including other law enforcement officers involved in this investigation. This affidavit

does not include every fact known to me about this investigation, but rather includes only those

facts sufficient to establish probable cause.
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                                 FACTUAL BACKGROUND

       4.      On or about April 18, 2024, CORREA was scheduled as a passenger on Avianca

flight number AV5, departing from Miami, Florida, to Bogota, Colombia. On this date, CORREA,

a United States citizen and Miami-Dade County resident, arrived at Miami International Airport

(MIA), checked into his flight, went through security and proceeded to his gate of departure. Once

at the gate, CORREA scanned his flight ticket with the airline attendants and walked onto the jet

bridge to board the aircraft. CORREA was traveling alone on this flight.

       5.      On or about April 18, 2024, law enforcement encountered CORREA on the jet

bridge while he was attempting to board his flight. HSI and Customs and Border Protection

(“CBP”) officers conducted an outbound border search of CORREA. At the time of the search,

CORREA had approximately nine (9) cellphones on his person and/or contained within his carry-

on backpack. HSI and CBP conducted a border search of each of the nine (9) devices.

       6.      On one of the cell phones (“Phone 1”), which CORREA identified as his own, the

photo gallery contained several videos, which depict CORREA having vaginal sex with a young

girl who appears to be approximately 12-14 years old (“Video 1”). On another cell phone

(“Phone 2”), which CORREA also identified as his own, the photo gallery contained several

videos, which depict CORREA having vaginal sex with a young girl who appears to be

approximately 9-11 years old (“Video 2”). CORREA’s face is completely exposed in both Videos

1 and 2.

       7.      In total, the searches of the devices revealed approximately fifty (50) videos with

approximately ten (10) different young girls who appear to be between 9-15 years old.




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                              CORREA’s Chat with the Trafficker 1

         8.      A search of Phone 1 also revealed a text message exchange between CORREA and

another person, who appears to be a sex trafficker (the “Trafficker”). The chats begin on or about

April 16, 2024, and continued through and including April 18, 2024. In the chat, CORREA asked

the Trafficker about the ages of the young girls that the Trafficker had available for commercial

sex. In each of these instances the Trafficker told CORREA that the girls they had available for

commercial sex were between 11-12 years old. CORREA also conveyed his preference for small

skinny girls.

         9.      At one point, CORREA asked the Trafficker whether an 11-year-old girl

(“Natalie”) would be ready for the “whole thing,” meaning if she was ready to be fully penetrated.

The Trafficker then assured CORREA that she would be. CORREA also told the Trafficker that

he would pay the Trafficker $300,000 Colombian pesos (the equivalent of approximately $75.00

U.S. dollars), and would also pay Natalie the same amount and would give her an iPhone.

CORREA instructed the Trafficker that they would need to stay inside the bathroom during

CORREA’s encounter with the girl for “privacy” because the girl would likely cry out in pain. The

relevant chat messages appear below:

    CORREA       You know my taste, very skinny
    CORREA       How old and when is the birthday
    Trafficker   Yes, obviously, she’ll be 12 in July
    CORREA       Ok, her and Manuela confirmed
    Trafficker   Got it, at what time will you be in Medellin
    CORREA       In the afternoon
    Trafficker   Love, what if I take Natalie? How much for her?
    CORREA       Natalie turns 11 or 12 in December?
    Trafficker   She turns 12
    CORREA       Is she ready for the whole thing

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 CORREA’s chats with the Trafficker are in Spanish and have been translated to English for the
purposes of the Complaint.


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    Trafficker    What you mean
    CORREA        Is she going to allow me to go all the way, or is she going to cry and ask me to
                  stop
    Trafficker    Obviously, she will
    CORREA        Ok so 300,000 for you and 300,000 for her and an iPhone 7 or 8 Plus. You need
                  to be in the bathroom please so there can be privacy because she’ll probably cry
                  again because of the pain. Like that, she’ll know there’s no turning back.
                  She’ll have to allow me to enjoy myself and she can try to enjoy herself. If she
                  behaves, and takes good care of me, you can keep bringing her and you’ll each
                  get 300k


         10.     Later in the exchange CORREA asked the Trafficker whether another girl “Nati” 2

was “still a virgin.” The Trafficker assured CORREA that Nati was still a virgin. CORREA then

inquired whether Nati could find a friend from her neighborhood or from school “like her,” who

was about 10-11 years old that could come see him. CORREA again reconfirmed his payment and

told the Trafficker that he would pay the Trafficker $300,000 Colombian pesos, and would also

pay Nati and her friend the same amount and would have an iPhone 8 Plus and iPhone 7 Plus for

each of them. CORREA had both kinds of devices in his possession at the time of his arrest.

         11.     At some point CORREA and the Trafficker began to discuss payment. The

Trafficker told CORREA that a transaction sent to Bancolombia (a bank in Colombia) did not go

through. The Trafficker asked CORREA if he could send a payment through NEQUI, a financial

account company used in Colombia. CORREA then asked for the Trafficker’s NEQUI phone

number and the Trafficker indicated that he could use the phone number that they were

communicating with in the chat. Moments later the Trafficker stated that the exchange was

“successful.”




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  At this time, it is believed that Nati and Natalie may be two different minor girls, as different
birthdates are provided for each of the girls in the chat.


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       12.     At one point, the Trafficker seemingly communicated with Nati and expressed that

the minor was hesitant to meet with CORREA to have sex and was concerned what he would be

doing to her. CORREA told the Trafficker he intended to penetrate her completely and ejaculate

inside of her. CORREA also urged the Trafficker not to interrupt, “no matter what happens.” The

following conversation ensued:

 Trafficker Love, Nati tells me yes then no, it’s making me mad-
 CORREA Why is that? Tell her I might get her an iPhone XS and 300k every time. Tell her to
            get it together
 Trafficker Ok, so I’ll take the other one tomorrow
 CORREA Honestly, that was my 3rd option. Manu, Nati for Thursday and Friday
 CORREA If Nati finds me a friend that’s 11 or 10 years old, that’s skinny, white, small, I’ll
            give her an iPhone Plus7 and her friend an iPhone8 for being more daring
 Trafficker Nati says yes, but are you going to penetrate her all the way?
 CORREA To be honest, I will penetrate completely, and I’ll finish inside her. I don’t want her
            to say “no” or “that’s as far as you can go.” She needs to understand that she needs
            me to enjoy myself without turning back. Even if she’s a virgin and it hurts, we’re
            going to do it in different positions. I don’t want to be rushed, I want to enjoy it and
            be able to repeat it, do you understand? She’s not the first virgin that has cried to
            me. The other girls open up, kissed me and took it for up to half an hour. I need her
            to understand, if she cries, I'm going to keep going. Please don’t interrupt, no
            matter what happens, ok? If all goes well, it can be an iPhone XS. Let me know
            what you think? We can kiss so she can understand how nice it’ll be
 CORREA And maybe, it’ll be an XS Max, but seriously she needs to understand the beauty of
            loving and joy.
 CORREA ***Sends pictures of an iPhone***

       13.     During portions of the chat, CORREA made several references to meeting with the

Trafficker on other occasions. At the end of the conversation, CORREA told the Trafficker that he

would see her around the same time as the “last time.”

                                    Post-Miranda Statement

       14.     CORREA waived Miranda and gave a statement to law enforcement. This

interview was conducted in English. During the interview, CORREA stated that the content in

Phone 1 was personal and that he did not give or share the device with anyone else.




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